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 Fill in this information to identify the case:

 Debtor name          Providence Hospital of North Houston LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

 Case number (if known)         20-34238
                                                                                                                                       Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest

 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                             number
                     Independent Financial formerly
            3.1.     Independent Bank                                       Checking                         8405                                    $18,120.18



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                                     $18,120.18
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No.   Go to Part 3.
       Yes Fill in the information below.

 Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.                 SEE ATTACHED EXHIBIT A/B #11b
 11.        Accounts receivable


            11b. Over 90 days old:                           1,053,538.00    -                               0.00 =....                          $1,053,538.00
                                              face amount                        doubtful or uncollectible accounts



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                                page 1
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 Debtor         Providence Hospital of North Houston LLC                                      Case number (If known) 20-34238
                Name


 12.       Total of Part 3.                                                                                                        $1,053,538.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

     No.    Go to Part 5.
     Yes Fill in the information below.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     No.    Go to Part 6.
     Yes Fill in the information below.

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.
     Yes Fill in the information below.
           General description                                                Net book value of      Valuation method used      Current value of
                                                                              debtor's interest      for current value          debtor's interest
                                                                              (Where available)

 39.       Office furniture

 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           SEE ATTACHED EXHIBIT A/B #41 (SUBJECT
           TO UMMC MOU AND BILL OF SALE)



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
            No
            Yes
 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
            No
            Yes
 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 2
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                                                                    EXHIBIT A/B #11b

                                                                                   AR
Providence Hospital of North Houston, LLC
Accounts Receivable

11b.                                        Over 90 days old

                                                           Doubtful or
                                                Face      Uncollectible
                   What                       Amount        Accounts       Net Value                                          Comment
Patient Accounts Receivable                   10,116,208 Unknown          Unknown
Receivable from UMMC                           1,053,538                0    1,053,538 See tab UMMC for details
Other receivables:
  SE Texas ER & Hospital (Formerly ICON)        865,841          865,841             0 PHNH provided lab and management services and lab supplies
  Progressive Women’s Health                      5,500            5,500             0 Inv was for a box of 5 - Genesis HTA kit Part number M0068580210
  Townsen Memorial Hospital                       4,068            4,068             0 Lap tray set
                                                                                       Biopsy procedure supplies; there is a liability for $154.39 as they paid another invoice
                                                                                       twice. If invoice owed is offset with the duplicate payment made by Liberty Dayton, then
  Liberty Dayton Regional                            46                46            0 PHNH would owe Liberty Dayton.




                                                                                 Page 1
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                                            EXHIBIT A/B #11b

                                                       UMMC
UMMC Receivable Detail

        Date         Amount                                        Description
         09/01/19    500,000.00    Last payment from sale of business
         09/20/19     82,467.27    Loan payment on Independent Bank Loan ending in 0541
         09/23/19     44,455.03    Loan payment on Independent Bank Loan ending in 4023
         10/20/19     82,467.27    Loan payment on Independent Bank Loan ending in 0541
         10/23/19     44,455.03    Loan payment on Independent Bank Loan ending in 4023
         11/20/19     82,467.27    Loan payment on Independent Bank Loan ending in 0541
         11/26/19     44,455.03    Loan payment on Independent Bank Loan ending in 4023
         12/20/19     82,467.27    Loan payment on Independent Bank Loan ending in 0541
         12/23/19     44,455.03    Loan payment on Independent Bank Loan ending in 4023
         01/31/20     31,020.19    UMMC portion of the BPP taxes paid in Jan 2020 for 2019
         09/01/19         32.95    Omni Fire & Security – Service for 9/2019
         09/01/19      1,649.13    Waste Management bill for service period 9/2019
         09/01/19      2,871.65    Canon Lease payment for RadPro DR System Merry X-Ray for 9/2019
         09/01/19        620.61    OWDT payment for website hosting and maintenance – 9/2019
         09/24/19      1,658.12    Waste Management bill for service period 10/2019
         09/30/19      1,200.00    Biomedical Waste Solutions bill for 9/2019
         10/01/19        211.60    Shred-It payment for service dates 9/11/19
         10/01/19         32.95    Omni Fire & Security – Service for 10/2019
         10/03/19      2,213.43    Microsoft Office 365 E1 - Online Services - Billing Period: 09/03/2019 - 10/02/2
         10/06/19        620.61    OWDT payment for website hosting and maintenance – 10/2019
         10/22/19        316.92    Shred-It payment for service dates 9/25/2019 and 10/9/2019
         11/06/19        620.61    OWDT payment for website hosting and maintenance – 11/2019
         11/22/19        316.92    Shred-It payment for service dates 10/23/19, 11/6/19 and 11/20/19
         12/01/19        883.95    ADP Benefit adjustment for December 2019
         11/06/19        620.61    OWDT payment for website hosting and maintenance – 12/2019
         12/22/19        221.52    Shred-It payment for service dates 12/4/19 and 12/17/19
         01/22/19        231.44    Shred-It payment for service dates 12/31/19 and 1/15/2020
         02/01/20        505.61    ADP Benefit adjustment for Nov 2019

Total               1,053,538.02




                                                        Page 2
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                                                            EXHIBIT A/B #41

Providence Hospital of North Houston
Schedule A/B #41
Office equipment, including all computer equipment and communication systems equipment and software (subject to
UMMC MOU and Bill of Sale)

                                          Net book value of debtor's                                                             Current value of debtor's
           Description                            interest                     Valuation method used for current value                   interest
        Computer Equipment

Hardware: POE Switches for Phones
- CIsco SG-300-52 port switch (9)
- Cisco SG300 28 port POE + Switch
(1)
- Cisco MVBSX1 Mini-Gbic (10)
- Cisco Catalyst 4500-48 port POE
modules (6)
- Cisco Catalyst 4500 Supervisor (1)                        11,046 E-Bay                                                                              4,887
Purchase to Texas Systems Group                             15,312 Net book value                                                                    15,312
Optiplex 5000 Series - 20 5040 SFF, 5 -
5040 MT                                                       7,692 E-Bay                                                                             6,000
Netgear Ready NAS, Seagate Iron
Wolf, Cat 6 Network                                           1,572 Net book                                                                          1,572
Rack, OCUCOBOL                                                7,132 Net book                                                                          7,132
Software
Digiu Server Software                                           -      Net book value; software purchased in 2016                                       -
Amkai Office/Charts Software for
Hospital                                                        -      Net book value; software purchased in 2016                                       -
Network infrastructure, power &
enviromental, software & warranty                               -      Net book value; software purchased in 2016                                       -
MD Staff (Web) Cloud including E Priv
& MD Query, with MD App and
virtual Committee - creditialing
software                                                        -      Net book value; software purchased in 2016                                       -
Oppor Sr Network Architect;
Engineering Services                                            -      Engineering services                                                             -
Cloud infrastructure - Encrypted
Cloud Infrastructure platform
purposed for application.services
execution, data storage and
onsite/offsite data protection - 8 TB
(April 2016 and 8 TB May 2016)                                  -      E-Bay                                                                            310
Oppr Infrastructre - IT Build
Agreement - 50% of labor costs
utilized up through May 1, 2016                                 -      Engineering services                                                             -
Polycom VVX 201 Business Media
Phone w/o Power Supply (2);
Polycom VVX-310 6-Line Desktop
Phones, Gigabit Ethernet w/HD Voice
w/o power supply (80);
Digium Switchvox Gold Subscriptions
(285 - 1 year license);
Implementation Training and Labor
                                                                -      Ebay                                                                           1,630
Wellsoft - 75% of implementation
and license fees billable upon
contract acceptance - Emergency
Department Information System                                   -      Net book value; software purchased in 2016                                       -
Wellsoft - contract signed 5/27/2016,
25% of implementation and license
fees                                                            -      Net book value; software purchased in 2016                                       -
Custom programming for a GoRev
and Amkai Interface                                             -      Net book value; billing system GoRev no longer utilized                          -
Hospital Infrastructure IT build
Agreement - labor invoice                                       -      Net book value; labor to get infrasturcture up in 2016                           -
Dragon Dictation software                                       -      Ebay                                                                              30
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                                                      EXHIBIT A/B #41

Providence Hospital of North Houston
Schedule A/B #41
Office equipment, including all computer equipment and communication systems equipment and software (subject to
UMMC MOU and Bill of Sale)
Wellsoft - As per terms of a proposal
date July 18, 2016, 25% of Software
license fee is billable upon
completion                                                -   Net book value; software purchased in 2016          -
Visualutions - Interfaces - custom
coded interfaces to softwares used
by business                                               -   Net book value; software purchased in 2016          -
Powerscribe360/ Project
Management                                                -   Net book value; software purchased in 2016          -
OWDT,LLC - Initial payment for web
design and development                                    -   PHNH website is no longer operational.              -
OWDT,LLC - final paymetn for web
design and development                                    -   PHNH website is no longer operational.              -

Nuance Communications, Inc.
Powerscribe 360, Interface Download                      -     Net book value; software purchased in 2017         -

VasoHealthcareIT - TOMO software -
software for mammo upgrade.                              -     Net book value; software purchased in 2017         -

VasoHealthcareIT - TOMO software -
software for mammo upgrade.                              -     Net book value; software purchased in 2017         -
Wellsoft's Emergency Department
Software, Facility Charge capture
Revision                                                 -     Net book value; software purchased in 2017         -
CompuGroup Medical US - PHNH
LabDaq Interface and Professional
Services                               $            6,069.00 Net book value; software purchased in 2017
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 Debtor         Providence Hospital of North Houston LLC                                      Case number (If known) 20-34238
                Name


     No. Go to Part 9.
     Yes Fill in the information below.
            General description                                               Net book value of      Valuation method used      Current value of
            Include year, make, model, and identification numbers             debtor's interest      for current value          debtor's interest
            (i.e., VIN, HIN, or N-number)                                     (Where available)

 47.        Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
            floating homes, personal watercraft, and fishing vessels

 49.        Aircraft and accessories


 50.        Other machinery, fixtures, and equipment (excluding farm
            machinery and equipment)
            SEE ATTACHED EXHIBIT A/B #50 (SUBJECT
            TO UMMC MOU AND BILL OF SALE)



 51.        Total of Part 8.
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
             No
             Yes
 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
             No
             Yes
 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No.    Go to Part 10.
     Yes Fill in the information below.

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No.    Go to Part 11.
     Yes Fill in the information below.

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No. Go to Part 12.
     Yes Fill in the information below.
                                                                                                                                Current value of
                                                                                                                                debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 3
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                                                      EXHIBIT A/B #50

Providence Hospital of North Houston, LLC
Schedule of other machinery, fixtures and equipment


                        Description                         Valuation method used for current value   Current value of debtor's interest
Equipment leases under Canon Financial
RadPro DR System Merry X-Ray                         Lease was assumed by UMMC                                                        -
GE Precision 500D R/F Room (Block Imaging)           Lease was assumed by UMMC                                                        -
Toshiba Infinix C-Arm                                Lease was assumed by UMMC                                                        -
Eaton-93PM/150kWUPS System N1 Critical Technologies  Lease was assumed by UMMC                                                        -
TMS Therapy System                                   Lease was assumed by UMMC                                                        -
Mark7-Arterion Bayer Injector                        Lease was assumed by UMMC                                                        -
Securview-RM-SVDX Hologic                            Lease was assumed by UMMC                                                        -
Canon CT Options                                     Lease was assumed by UMMC                                                        -
Craneware Software                                   Lease was assumed by UMMC                                                        -
GE HemoHemodynamic Combo Lab696-R3 and INW Server Up Lease was assumed by UMMC                                                        -
Omnicell Drug Dispenser                              Lease was assumed by UMMC                                                        -
Webster Vivid IQ Biosense                            Lease was assumed by UMMC                                                        -
Carto 3 System Biosense Webster                      Lease was assumed by UMMC                                                        -
UMS X-Ray System                                     Lease was assumed by UMMC                                                        -
CIOS C Arm System                                    Lease was assumed by UMMC                                                        -
CIOS C Arm System                                    Lease was assumed by UMMC                                                        -
Siemens PET CT and Canon Vitrea                      Lease was assumed by UMMC                                                        -
MULTGEN2-VENOM100MM -Stryker RF Ablation Machine     Lease was assumed by UMMC                                                        -
Canon Aplio 500 Ultrasound                           Lease was assumed by UMMC                                                        -
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 Debtor         Providence Hospital of North Houston LLC                                     Case number (If known) 20-34238
                Name

           Description (for example, federal, state, local)

 73.       Interests in insurance policies or annuities

           Gallagher Cyber Plus Policy #OC0525AAD619                                                                                Unknown



 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)
           Claim for economic damages as a result of cyber attack
           in December 2019; loss covered by Gallagher Cyber
           Plus Policy
           SEE ATTACHED EXHIBIT A/B #74                                                                                             Unknown
           Nature of claim
           Amount requested                                              $0.00



 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership
           Option Agreeent pursuant to Asset Purchase
           Agreement between UMMC and 1960 Family Practice,
           P.A. dated 8/16/19 -- SEE ATTACHED EXHIBIT A/B #77                                                                       Unknown




 78.       Total of Part 11.                                                                                                           $0.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                           page 4
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                                      EXHIBIT A/B #74

Cyber Attack Summary


On December 11, 2019, the PHNH IT system was hit by a ransomware attack. The IT system was located
at the PHNH campus in the server room. The virus traveled through the entire IT system including the
1960 Family Practice clinics, business office, ER and multiple other entities since the virus went into the
GE (PAC system). Additionally, the tmmsonline.net email system was also compromised and all emails
have not been recovered. VasoHealthcare IT was supposed to have maintained our entire network
(pharmacies/business office/billing office/clinics/radiology/satellite locations). Everything related to
business was completely shut down.

Our cyber insurance policies allowed our insurance company to step in and the carrier paid the
ransomware ($800K plus) and also paid a recovery IT company (outside firm) to recover the damaged IT
system. After the insurance investigation was complete, it was determined that one of the computers
located at the nurse station (Kim Harrington, CNO of UMMC North) opened an unintended email and the
virus spread to all the network systems located at Providence Hospital. UMMC was using our network
system through a managed access and service agreement.

After several months, it was determined that only about 50% of the damaged software is recoverable.
PHNH has not been able to send out claims and billing has been shut down 100%.

Economic damages have not been determined. The equipment, various IT equipment, and software is
the collateral of Independent Bank.

We have provided to the carrier the monies that PHNH has paid as well as vendor invoices that the carrier
should pay. PHNH does not have a functioning billing system.

See below a timeline on major events as they occurred as part of the remediation efforts to this
ransomware attack. All major systems impacted including, but not limited to, GE Centricity, GE PACS,
MedQ, Allscripts, Amkai, CPSI, Mail Server, entire network.

    •   12/11/2019: Ransomware attack happened at 2.00 AM early morning. IT received multiple calls
        about systems not functioning. Basic troubleshooting was done but the systems remained down.
        Morning 9.00 AM – IT determined that the systems were hacked.
    •   12/12/2019: Dr. Le contacted carrier. PHNH began working with counsel for insurance carrier and
        Tracepoint (Insurance IT). Tracepoint came onsite to evaluate the network.
    •   12/12/2019: FBI Cyber Crime Dept. was notified about the incident. FBI came on site to
        investigate on the attack.
    •   3 Weeks post attack: Tracepoint completed its investigation and sent findings to their
        headquarters in Washington DC.
    •   01/21/2020: Management contacted Visualutions to evaluate Centricity Application.
    •   01/28/2020 – 01/29/2020: Visualutions came onsite, declared the centricity Database and
        application files were corrupted beyond repair and need a re-implementation.
    •   02/13/2020: Investigation findings meeting with Tracepoint, Insurance and insurance attorneys.
        All the findings were mentioned on the call.
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                                  EXHIBIT A/B #74

•   02/27/2020: Ontrack was contacted to Decrypt the data from the centricity Database. Ontrack
    sent a quote.
•   04/15/2020: Carrier released payment to Ontrack for Centricity Data decryption.
•   04/20/2020: Management contacted MedQ for troubleshooting the corrupt RIS system
•   04/20/2020: Management contacted GE for troubleshooting the corrupt PACS system
•   04/28/2020: Contacted Visualutions for Quotes on rebuilding Centricity application
•   05/01/2020: Received Quote from MedQ. MedQ tried to troubleshoot the system for more than
    a week after they were contacted to determine if the existing system could be repaired. The
    system was not responsive and beyond repair. Decision was made to re-implement a new system.
•   05/05/2020: Received the Decrypted data of Centricity Database from Ontrack
•   05/27/2020: Received the Quote from GE. GE worked with the IT team for more than a month in
    troubleshooting the system, understanding the previous workflow and evaluating the current
    functionality. The system is beyond repair and GE sent a quote to fix the dead system. A part of
    GE (GE Archive) was acceptable and was not included in the quote.
•   During this Entire process IT has been working to rebuild all the systems that were affected with
    no patient data loss including all the computers (180) and servers (Active Directory, multiple
    File Servers, DNS&DHCP Servers, multiple Internal App Servers) and other networking
    equipment including Firewalls and switches .
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LE003463                 EXHIBIT A/B #77




                                                                   LE003463
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LE003464                 EXHIBIT A/B #77




                                                                   LE003464
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LE003465                 EXHIBIT A/B #77




                                                                   LE003465
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LE003466                 EXHIBIT A/B #77




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LE003467                 EXHIBIT A/B #77




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LE003468                 EXHIBIT A/B #77




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LE003469                 EXHIBIT A/B #77




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LE003470                 EXHIBIT A/B #77




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LE003471                 EXHIBIT A/B #77




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LE003472                 EXHIBIT A/B #77




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LE003473                 EXHIBIT A/B #77




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LE003474                 EXHIBIT A/B #77




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LE003475                 EXHIBIT A/B #77




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LE003476                 EXHIBIT A/B #77




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LE003477                 EXHIBIT A/B #77




                                                                   LE003477
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LE003478                 EXHIBIT A/B #77




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LE003479                 EXHIBIT A/B #77




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LE003480                 EXHIBIT A/B #77




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 Debtor          Providence Hospital of North Houston LLC                                                            Case number (If known) 20-34238
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                            $18,120.18

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                 $1,053,538.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                         $1,071,658.18            + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $1,071,658.18




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